                                                                                               E-FILED IN OFFICE - CL
             Case 1:22-cv-03255-MLB Document 1-2 Filed 08/15/22 Page 1 of 49CLERK OF STATE COURT
                                                                                         GWINNETT COUNTY, GEORGIA
                                         EXHIBIT A                                                  22-C-03273-S6
                                                                                                 7/9/2022
                                                                              Control Number :TIANA
                                                                                               SOP-221480023:53 PM
                                                                                                    P. GARNER, CLERK

                              STATE OF GEORGIA
                                       Secretary of State
                                        Corporations Division
                                           313 West Tower
                                     2 Martin Luther King, Jr. Dr.
                                     Atlanta, Georgia 30334-1530



                         CERTIFICATE OF ACKNOWLEDGEMENT

I, Brad Raffensperger, Secretary of State of the State of Georgia, do hereby certify under the seal of my
office that copies of legal documents regarding service of process upon:

                                         Danny Andrea Savage

have been filed with the Secretary of State on 07/08/2022 pursuant to O.C.G.A. § 40-12-2 relating to the
following matter:

Case: Taraneika Brady v. Danny Andrea Savage
Court: State Court of Gwinnett County
Civil Action No.: 22C03273




                                                Witness my hand and official seal in the City of Atlanta
                                                and the State of Georgia on 07/09/2022.
                Case 1:22-cv-03255-MLB Document 1-2 Filed 08/15/22 Page 2 of 49

SERVICE OF PROCESS                                                                 *Electronically Filed*
                                                                                   Secretary of State
                                                                                   Filing Date: 7/8/2022 4:59:50 PM

FILING INFORMATION
Filing Type                             : Service of Process
Control Number                          : SOP-22148002
DEFENDANT INFORMATION
The name of the business entity or individual (the “defendant”) for which the Secretary of State is being served as statutory
agent is as follows:
Defendant Type                          : Individual
Defendant’s Name                        : Danny Andrea Savage
Defendant’s Address Where Service
                                  : 1335 Cedar Street, Jacksonvile, FL, 32207, USA
Attempted and/or Forwarded
STATUTORY AUTHORITY
Service is being made on the Secretary of State pursuant to the following O.C.G.A. section:

O.C.G.A. § 40-12-2

CASE INFORMATION
The service of process filing relates to the following proceeding:
Name of Plaintiff                       : Taraneika Brady
Style of Proceeding                     : Taraneika Brady v. Danny Andrea Savage, et al.
Civil Action Number                     : 22C03273
Court                                   : State Court of Gwinnett County
SERVICE OF PROCESS DOCUMENTS
See attached document(s).
FILER’s INFORMATION
Filer Type                              : Individual
Name                                    : Jodi Pruitt
Address                                 : Bank of America Plaza, Atlanta, GA, 30308, USA
AUTHORIZER INFORMATION
Authorizer Name                         : Jodi Pruitt
        Case 1:22-cv-03255-MLB Document 1-2 Filed 08/15/22 Page 3 of 49



                       IN THE STATE COURT OF GWINNETT COUNTY
                                  STATE OF GEORGIA


TARANEIKA BRADY,


       Plaintiff,
                                                            CIVIL ACTION
v.                                                          FILE NO. 22-C-03273-S6

DANNY ANDREA SAVAGE;
DDR SOLUTIONS, INC.;
3 STAR TRANSPORT, INC.; and
BERKLEY CASUALTY COMPANY,

      Defendants.
____________________________________________________________________________

               PLAINTIFF’S ATTORNEY AFFIDAVIT OF COMPLIANCE FOR
               SERVICE OF PROCESS UPON A NON-RESIDENT MOTORIST

                                               1.

       I, Phil W. Lorenz, am the attorney who represents the Plaintiff in the above-styled case.

                                               2.

       I hereby certify that, in accordance with O.C.G.A. § 40-12-2, I have forwarded by

statutory overnight mail Notice of Service of the above-styled case along with a copy of the

Summons; Complaint; and Plaintiff’s First Interrogatories, First Request for Production of

Documents, and First Request for Admissions to Defendant Danny Andrea Savage for the

Office of the Secretary of State to Defendant Danny Andrea Savage at the following address:

                                     Danny Andrea Savage
                                       1335 Cedar Street
                                     Jacksonville, FL 32207

                                               3.

       I further certify that I SHALL FILE WITH THE APPROPRIATE COURT appended to the

documents, regarding this case: (1) any return receipt received as evidence of service upon

Defendant Danny Andrea Savage by the Plaintiff and (2) this Plaintiff’s Affidavit of Compliance.
       Case 1:22-cv-03255-MLB Document 1-2 Filed 08/15/22 Page 4 of 49




       FURTHER AFFIANT SAYETH NOT.

       This 8th day of July, 2022.

                                         Respectfully submitted,

                                         WLG ATLANTA, LLC



                                         --7har) d teu24,
                                         PHILIP W. LORENZ
                                         Georgia Bar No. 458001
                                         J. MARTIN FUTRELL
                                         Georgia Bar No. 450872



Bank of America Plaza
600 Peachtree St, NE, Suite 4010
Atlanta, GA 30308
(p)     470-881-8804
(f)     470-881-8819
(e)     Philip.Lorenz@witheritelaw.com

Subscribed and sworn to before me

thi    eil4 d    0            , 2022.


Nota      blic

My Commission Expires: is /V1/3
                                                                                                                 E-FILED IN OFFICE - RJ
                  Case 1:22-cv-03255-MLB Document 1-2 Filed 08/15/22 Page 5 of 49                              CLERK OF STATE COURT
                                                                                                           GWINNETT COUNTY, GEORGIA
                                                                                                                     22-C-03273-S6
                              IN THE STATE COURT OF GWINNETT COUNTY                                              6/14/2022 2:17 PM
                                                                                                               TIANA P. GARNER, CLERK

                                                  STATE OF GEORGIA
Taraneika Brady
_______________________________________

_______________________________________                                                                   22-C-03273-S6
                                                                                    CIVIL ACTION
_______________________________________                                             NUMBER:

                                   PLAINTIFF


                      VS.
Danny Andrea Savage,
_______________________________________
DDR Solutions, Inc., 3 Star Transport, Inc. and
_______________________________________
Berkley Casualty Company
_______________________________________

                                  DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:

Philip W. Lorenz, J. Martin Futrell
WLG Atlanta, LL, Bank of America Plaza, 600 Peachtree Street, NE, Suite 4010,Atlanta, GA 30308


an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This _________________
     14th                         June
                       day of ____________________________________,               22
                                                                                20_____.


                                                                            Tiana P. Garner
                                                                           Clerk of State Court



                                                                           By
                                                                                           Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
                                                                                                                                      E-FILED IN OFFICE - RJ
                      Case 1:22-cv-03255-MLB Document 1-2 Filed 08/15/22 Page 6 of 49                                               CLERK OF STATE COURT
                                                                                                                                GWINNETT COUNTY, GEORGIA
                             General Civil and Domestic Relations Case Filing Information Form                                               22-C-03273-S6
                                                                                                                                         6/14/2022 2:17 PM
                                                                                                                                    TIANA P. GARNER, CLERK
                                  ☐    Superior or ☐ State Court of ______________________________
                                                       ■            Gwinnett                       County

        For Clerk Use Only                                                                            22-C-03273-S6
        Date Filed _________________________                                Case Number _________________________
                        MM-DD-YYYY

Plaintiff(s)                                                                   Defendant(s)
__________________________________________________
Brady, Taraneika                                                               __________________________________________________
                                                                               Savage, Danny Andrea
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
__________________________________________________                             __________________________________________________
                                                                               DDR Solutions, Inc.
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
__________________________________________________                             __________________________________________________
                                                                               3 Star Transport, Inc.
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
__________________________________________________                             __________________________________________________
                                                                               Berkley Casualty Company
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix

Plaintiff’s Attorney ________________________________________
                     Philip W. Lorenz                                              Bar Number __________________
                                                                                               450872                    Self-Represented ☐

                                                           Check One Case Type in One Box

        General Civil Cases                                                             Domestic Relations Cases
        ☐■
                    Automobile Tort                                                     ☐            Adoption
        ☐           Civil Appeal                                                        ☐            Dissolution/Divorce/Separate
        ☐           Contract                                                                         Maintenance
        ☐           Garnishment                                                         ☐            Family Violence Petition
        ☐           General Tort                                                        ☐            Paternity/Legitimation
        ☐           Habeas Corpus                                                       ☐            Support – IV-D
        ☐           Injunction/Mandamus/Other Writ                                      ☐            Support – Private (non-IV-D)
        ☐           Landlord/Tenant                                                     ☐            Other Domestic Relations
        ☐           Medical Malpractice Tort
        ☐           Product Liability Tort                                              Post-Judgment – Check One Case Type
        ☐           Real Property                                                       ☐   Contempt
        ☐           Restraining Petition                                                  ☐ Non-payment of child support,
        ☐           Other General Civil                                                      medical support, or alimony
                                                                                        ☐   Modification
                                                                                        ☐   Other/Administrative

☐       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.
        ____________________________________________            ____________________________________________
                     Case Number                                              Case Number

☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

☐       Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                  Language(s) Required

☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
        _________________________________________________________________________________________________________________________
        _________________________________________________________________________________________________________________________
                                                                                                                                             Version 1.1.18
                                                                                             E-FILED IN OFFICE - RJ
        Case 1:22-cv-03255-MLB Document 1-2 Filed 08/15/22 Page 7 of 49                    CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                 22-C-03273-S6
                                                                                             6/14/2022 2:17 PM
                                                                                           TIANA P. GARNER, CLERK

                          IN THE STATE COURT OF GWINNETT COUNTY
                                        STATE OF GEORGIA


   TARANEIKA BRADY,

          Plaintiff,
                                                       CIVIL ACTION
   v.                                                  FILE NO.:    22-C-03273-S6


   DANNY ANDREA SAVAGE;                                JURY TRIAL REQUESTED
   DDR SOLUTIONS, INC.;
   3 STAR TRANSPORT, INC.; and
   BERKLEY CASUALTY COMPANY,

          Defendant(s).

                                    COMPLAINT FOR DAMAGES

        COMES NOW Plaintiff, Taraneika Brady, by and through the undersigned counsel of

record, and files this Complaint for Damages, showing this Court as follows:

                                 PARTIES, JURISDICTION & VENUE

                                                1.

        Defendant Danny Andrea Savage (“Savage”) is a citizen of the State of Florida who

resides at 1335 Cedar Street, Jacksonville, Florida 32207. Defendant Savage is subject to the

jurisdiction of the Court pursuant to O.C.G.A. § 40-12-1, et seq., and may be served with process

by serving the Georgia Secretary of State in the manner prescribed in O.C.G.A. § 40-1-2.

                                                2.

        Defendant DDR Solutions, Inc. (“DDR Solutions”) is a foreign, for-profit corporation

organized and existing under the laws of the State of Illinois with its principal place of business

located at 905 8th Avenue, Apt #4, La Grange Park, Illinois 60525. Defendant DDR Solutions may

be served with process in the manner prescribed by O.C.G.A. §§ 14-2-504(b) and 14-2-1510(b)

by serving a copy of the summons and complaint upon Defendant DDR Solutions’ President and

                                                1
         Case 1:22-cv-03255-MLB Document 1-2 Filed 08/15/22 Page 8 of 49



registered agent for service of process, Dejan Rankovic, at 905 8th Avenue, Apt #4, La Grange

Park, Illinois 60525 by registered or certified or statutory overnight delivery, return receipt

requested.

                                                     3.

       Defendant 3 Star Transport, Inc. (“3 Star Transport”) is a foreign, for-profit corporation

organized and existing under the laws of the State of Illinois with its principal place of business

located at 1030 South La Grange Road, Suite 11, La Grange, IL 60525-2800. Defendant 3 Star

Transport may be served with process in the manner prescribed by O.C.G.A. §§ 14-2-504(b) and

14-2-1510(b) by serving a copy of the summons and complaint upon Defendant 3 Star Transport,

Inc.’s President and registered agent for service of process, Dejan Rankovic, at 1030 South La

Grange Road, Suite 11, La Grange Park, Illinois 60525 by registered or certified or statutory

overnight delivery, return receipt requested.

                                                     4.

       Upon information and belief, Defendant Berkley Casualty Company (“Berkley Casualty”)

is a foreign insurance company with its principal place of business in a state other than the State

of Georgia and upon information and belief is authorized to transact business in the State of

Georgia at the time of the July 21, 2021, collision that forms the basis for the instant action.

Defendant Berkley Casualty does not maintain a registered agent for service of process within

the State of Georgia, nor has it appointed a person who is a resident of the State of Georgia to

receive service of process and can be served with process by serving the Commissioner of

Insurance, State of Georgia.

                                                     5.

       Plaintiff Taraneika Brady (“Brady”) is a citizen of the State of Georgia and voluntarily

submits herself to the jurisdiction of this Court.


                                                     2
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                                       FACTUAL ALLEGATIONS

                                                  6.

        On or about July 21, 2021, at approximately 9:46 AM, Plaintiff Brady was stopped at the

red light at the bottom of the I85 northbound exit ramp and Lawrenceville Suwanee Road in the

City of Suwanee, Georgia in her 2016 Nissan Maxima waiting to turn right.

                                                  7.

        At the same time, Defendant Savage was also stopped at the red light at the bottom of

the I85 northbound exit ramp and Lawrenceville Suwanee Road in the City of Suwanee, Georgia

in a 2016 Volvo semi-tractor trailer owned by Defendant DRR Solutions also waiting to turn right

on to Lawrenceville Suwanee Road.

                                                  8.

        The light turned green, and both Plaintiff and Defendant Savage began turning right onto

Lawrenceville Suwanee Road.

                                                  9.

        Defendant Savage turned the Volvo semi-tractor trailer too sharply, causing the trailer to

come into Plaintiff’s lane of travel and smashed into the front driver’s side of Plaintiff’s 2016 Nissan

Maxima, which sustained disabling damage and had to be towed from the scene of the collision.

                                                  10.

        The July 21, 2021, collision was reported to the police pursuant to O.C.G.A. § 40-6-273.

                                                  11.

        In addition to improperly turning right, Defendant Savage was negligent by driving

Defendant DDR Solutions’ Volvo semi-tractor trailer at a speed greater than is reasonable and

prudent under the conditions and failing to have regard for the actual and potential hazards then

existing at the I85 north exit ramp and Lawrenceville Suwanee Road in violation of O.C.G.A. §

40-6-180.
                                                   3
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                                                  12.

        Defendant Savage was also negligent by failing to exercise due care while operating the

Volvo semi-tractor trailer on the highways of this state by driving while not keeping his attention

on the roadway ahead of him in violation of O.C.G.A. § 40-6-241.

                                                  13.

        Defendant Savage was further negligent by driving Defendant DDR Solutions’ Volvo semi-

tractor trailer recklessly without due regard for the safety of persons and property in the immediate

vicinity in violate of O.C.G.A. § 40-6-390.

                                                  14.

        Defendant Savage was also negligent by failing to exercise that degree of care which is

exercised by ordinarily prudent persons under the same or similar circumstances in violation of

O.C.G.A. § 51-1-2.

                                                  15.

        As a direct and proximate result of Defendant Savage’s negligence on July 21, 2021,

Plaintiff Brady sustained serious and permanent physical and emotional injuries and damages.

All of Plaintiff’s damages will continued into the future.

                                                  16.

        Defendant Savage’s negligence on July 21, 2021, was the sole and proximate cause of

Plaintiff’s injuries and damages.

                                             COUNT I
                                          (NEGLIGENCE)

                                                  17.

        Plaintiff Brady re-alleges and incorporates by reference the allegations and averments set

forth in numbered Paragraphs 1 through 16 of Plaintiff’s Complaint for Damages (“Complaint”) as

if fully set forth herein.

                                                   4
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                                                   18.

       On July 21, 2021, Plaintiff Savage was negligent in the following manner:

       (a)     making an improper lane change;

       (b)     failing to stay in his lane of travel;

       (c)     driving too fast for conditions present in the immediate vicinity;

       (d)     failing to keep a proper lookout for other vehicle traffic in his immediate vicinity;

       (e)     driving recklessly with out without due regard for the safety of persons and property

               in the immediate vicinity; and

       (f)     failing to exercise that degree of care which is exercised by ordinarily prudent

               persons under the same or similar circumstances.

                                                   19.

       As a direct and proximate result of Defendant Savage’s negligence on July 21, 2021,

Plaintiff Brady sustained serious and permanent physical and emotional injuries and damages.

All of Plaintiff’s damages will continued into the future.

                                                   20.

       Defendant Savage’s negligence on July 21, 2021, was the sole and proximate cause of

Plaintiff’s injuries and damages.

                                                   21.

       Defendant Savage is therefore liable to Plaintiff for Plaintiff’s specific damages, including

but not limited to medical expenses and lost wages, incurred as a result of injuries sustained in

the July 21, 2021, collision in an amount to be determined by the evidence at the trial of this case.

                                                   22.

       Defendant Savage is also liable to Plaintiff for Plaintiff’s general damages, including but

not limited to pain and suffering, incurred as a result of injuries sustained in the July 21, 2021,

collision in an amount to be determined by the evidence at the trial of this case.
                                                    5
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                                        COUNT II
                       (IMPUTED LIABILITY/RESPONDEAT SUPERIOR)

                                                23.

       Plaintiff Brady re-alleges and incorporates by reference the allegations and averments set

forth in numbered Paragraphs 1 through 22 of Plaintiff’s Complaint as if fully set forth herein.

                                                24.

       At the time of the July 21, 2021, collision, Defendant Savage was under dispatch for DDR

Solutions and/or Defendant 3 Star Transport.

                                                25.

       At the time of the July 21, 2021, collision, Defendant Savage was operating the 2016 Volvo

semi-tractor trailer on behalf of DDR Solutions and/or Defendant 3 Star Transport.

                                                26.

       Defendant DDR Solutions and/or 3 Star Transport is an interstate and/or intrastate

commercial motor vehicle carrier, and pursuant to federal and state law, is responsible for the

actions of Defendant Savage in regard to the July 21, 2021, collision under the doctrine of lease

liability, agency or apparent agency, or respondeat superior.

                                      COUNT III
                      (NEGLIGENT HIRING, TRAINING & SUPERVISION)

                                                27.

       Plaintiff Brady re-alleges and incorporates by reference the allegations and averments set

forth in numbered Paragraphs 1 through 26 of Plaintiff’s Complaint as if fully set forth herein.

                                                28.

       Defendant DDR Solutions and/or 3 Star Transport were negligent in hiring Defendant

Savage and entrusting him to drive the Volvo semi-tractor trailer.

                                                29.

       Defendant DDR Solutions and/or 3 Star Transport were negligent in failing to properly train
                                                 6
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Defendant Savage to drive the Volvo semi-tractor trailer. semi-tractor trailer.

                                                 30.

       Defendant DDR Solutions and/or 3 Star Transport were negligent in failing to supervise

Defendant Savage with respect to the proper operation of the Volvo semi-tractor trailer.

                                                 31.

       Defendant DDR Solutions and/or 3 Star Transport negligence in hiring Defendant Savage

and entrusting him to drive a commercial vehicle and failing to properly train and supervise

Defendant Savage with respect to the operation of the Volvo semi-tractor trailer was the sole and

proximate cause of the July 27, 2021, collision and Plaintiff Brady’s resulting injuries.

                                            COUNT IV
                                        (DIRECT ACTION)

                                                 32.

       Plaintiff Brady re-alleges and incorporates by reference the allegations and averments set

forth in numbered Paragraphs 1 through 31 of Plaintiff’s Complaint as if fully set forth herein.

                                                 33.

       Pursuant to O.C.G.A. §40-6-140, Defendant Berkley Casualty is subject to a direct action

as the insurer of Defendants 3 Star Transport and/or DDR Solutions and Savage.

                                                 34.

       Defendant Berkley Casualty was the insurer of Defendants 3 Star Transport and/or DDR

Solutions and Savage at the time of the July 21, 2021, collision and had issued a liability policy to

comply with the filing requirements of federal and state law for intestate travel.

                                                 35.

       Defendant Berkley Casualty is responsible for any judgment rendered against Defendants

3 Star Transport and/or DDR Solutions and Savage up to the limits of its policy with Defendants.



                                                  7
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                                             COUNT V
                                            (DAMAGES)

                                                 36.

       Plaintiff Brady re-alleges and incorporates by reference the allegations and averments set

forth in numbered Paragraphs 1 through 35 of Plaintiff’s Complaint as if fully set forth herein.

                                                 37.

       As a direct and proximate result of Defendant Savage’s negligence on July 21, 2021,

Plaintiff Brady suffered severe and permanent injuries, including but not limited to a flattening of

the normal cervical lordosis, and disc herniations without spinal stenosis or cord contact at C3/4

and C4/5.

                                                 38.

       Defendants Savage, DDR Solutions, 3 Star Transport and Berkley Casualty are therefore

liable to Plaintiff Brady for Plaintiff’s special damages, including but not limited to medical

expenses and lost wages, past, present and future, in amounts to be proven by the evidence at

trial but not less than $22,215.00 in medical bills. Such damages continue to accrue and will be

supplemented during the course of this action.

                                                 39.

       Defendants Savage, DDR Solutions and Knights Specialty Insurance are further liable to

Plaintiff Brady for Plaintiff’s general damages, including but not limited to physical and mental pain

and suffering, past, present and future, in an amount to be determined by the evidence at the trial

of this case.

                                           COUNT VI
                                      (PUNITIVE DAMAGES)

                                                 40.

       Plaintiff Brady re-alleges and incorporates by reference the allegations and averments set

forth in numbered Paragraphs 1 through 39 of Plaintiff’s Complaint as if fully set forth herein.
                                                  8
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                                                  41.

       Defendants Savage, DDR Solutions, 3 Star Transport, and Berkley Casualty’s conduct

with respect to July 21, 2021, collision that forms the basis for the instant action was reckless,

willful and wanton, and evinced a conscious indifference to the consequences of their actions

thereby entitling Plaintiff Brady to an award of punitive damages pursuant to O.C.G.A. § 51-12-

5.1

                                          COUNT VII
                                   (EXPENSES OF LITIGATION)

                                                  42.

       Plaintiff Brady re-alleges and incorporates by reference the allegations and averments set

forth in numbered Paragraphs 1 through 41 of Plaintiff’s Complaint as if fully set forth herein.

                                                  43.

       Plaintiff Brady is entitled to, and specifically requests, an award of the expenses of

litigation, including but not limited to attorney’s fees, in that the actions on the parts of Defendants

Savage, DDR Solutions, 3 Star Transport and Berkley Casualty as described above, show that

Defendants acted in bad faith with respect to the transactions and dealings surrounding the July

21, 2021, collision that forms the basis for the instant action and Defendants, and Defendants’

agents, have failed to make any good faith effort to mitigate Plaintiff’s damages incurred as a

direct and proximate result of Defendants’ negligence, and/or have been stubbornly litigious

and/or have caused Plaintiff unnecessary trouble and expense thereby entitling Plaintiff to award

of the expenses of litigation, including, but not limited to, reasonable attorney’s fees as defined

by O.C.G.A. § 13-6-11.

        WHEREFORE, for the foregoing reasons, Plaintiff Taraneika Brady respectfully prays:




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(a)   That process and summons issue and that Defendants Danny Andrea Savage,

      DDR Solutions, Inc., 3 Star Transport, Inc. and Berkley Casualty Company be

      served in accordance with Georgia law;

(b)   For trial by a jury of 12;

(c)   That judgment be entered against Defendants Danny Andrea Savage, DDR

      Solutions, Inc., 3 Star Transport, Inc. and Berkley Casualty Company in favor of

      Plaintiff Brady for Plaintiff’s actual, special, general and compensatory damages in

      amounts to be determined by the evidence at trial;

(d)   That Plaintiff Brady receive an award of punitive damages in an amount to be

      determined the enlightened conscious of a fair and impartial jury;

(e)   That pursuant to O.C.G.A. § 13-6-11 Plaintiff Brady receive an award of the

      expenses of litigation, including but not limited to an award of reasonable attorney’s

      fees, incurred as a result of Defendants’ bad faith and/or stubborn litigiousness

      and/or casing Plaintiff unnecessary trouble and expense;

(f)   That all costs of this action be case upon Defendants Danny Andrea Savage, DDR

      Solutions, Inc., 3 Star Transport, Inc. and Berkley Casualty Company; and

(g)   Such other and further relief as the Court deems proper and just.

This 14th day of June, 2022.

                                     Respectfully submitted,

                                     WLG ATLANTA, LLC


                                      /s/ PHILIP W. LORENZ
                                     PHILIP W. LORENZ
                                     Georgia Bar No. 458001
                                     J. MARTIN FUTRELL
                                     Georgia Bar No. 450872



                                        10
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Bank of America Plaza
600 Peachtree St, NE, Suite 4010
Atlanta, GA 30308
(p)     470-881-8804
(f)     470-881-8819
(e)     Philip.Lorenz@witheritelaw.com




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